Case 2:24-cv-02886-WLH-SK                   Document 84-2                Filed 07/04/24            Page 1 of 1 Page ID
                                                  #:1547


                                                                                                                         William Shibley
                                                                                                                           562.716.4040
                                                                                                               william@lloydmousilli.com


                                                       July 3, 2024

   Via Electronic Filing Manager
   Judge Wesley L. Hsu
   First Street Courthouse
   350 W. 1st Street, Courtroom 9B, 9th Floor
   Los Angeles, California 90012

             Re: Confirmation of Jurisdictional Defendants’ Compliance with the Court’s Order

   Dear Honorable Judge Hsu,

           Pursuant to this Honorable Court’s June 28, 2024 Order (the “Order”), this letter serves
   to inform the Court of the Original Jurisdictional Defendants’ compliance with said Order.

   Confirmation that Defendants’ List of Unidentified Assets Produced to Plaintiffs is true and
   correct.

             On July 1, 2024, Plaintiffs’ counsel served their Plaintiffs’ List of Defendants’ Unidentified
   Assets.

            On July 2, 2024, Original Jurisdictional Defendants served on Plaintiffs’ counsel
   Defendants’ List of Unidentified Assets (“Defendants’ Lists”). This confirms that the Defendants’
   Lists produced to Plaintiffs’ counsel are indeed true and correct.

            The Defendants’ Lists were served on behalf of Max O. Day, Michael Day, Max K. Day,
   Ryan Carroll, Yax Ecommerce LLC, WA Distribution LLC, and Precision Trading Group LLC, and
   satisfy the Original Jurisdictional Defendants’ obligation under Paragraph 5 of the Order.

             It is Original Jurisdictional Defendants’ belief that the Order has been fully complied with.


                                                               Sincerely,

                                                               Lloyd & Mousilli
                                                               Attorneys at Law



                                                               ________________________
                                                               William Shibley



   WH/ag




                   11807 Westheimer Suite 550, Houston, TX 77077 • Tel: 512.609.0059 • www.lloydmousilli.com
